     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 1 of 29 Page ID #:267



1    E. MARTIN ESTRADA
     United States Attorney
2    ANNAMARTINE SALICK
     Assistant United States Attorney
3    Chief, National Security Division
     ANDREW M. ROACH (Cal. Bar No. 293375)
4    Assistant United States Attorney
     Cyber & Intellectual Property Crimes Section
5         1500 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-0306
7         Facsimile: (213) 894-2927
          E-mail:    andrew.roach@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                             UNITED STATES DISTRICT COURT

11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. 2:23-CR-00085-ODW

13                Plaintiff,                  PLEA AGREEMENT FOR DEFENDANT
                                              AMIR HOSSEIN GOLSHAN
14                     v.

15   AMIR HOSSEIN GOLSHAN,

16                Defendant.

17

18         1.     This constitutes the plea agreement between Amir Hossein
19   Golshan (“defendant”) and the United States Attorney’s Office for the
20   Central District of California (“the USAO”) in the above-captioned
21   case.      This agreement is limited to the USAO and cannot bind any
22   other federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authorities.
24                               DEFENDANT’S OBLIGATIONS
25         2.     Defendant agrees to:
26                a.   At the earliest opportunity requested by the USAO and
27   provided by the Court, appear and plead guilty to counts one, two,
28   and four of the indictment in United States v. Amir Hossein Golshan,
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 2 of 29 Page ID #:268



1    No. 2:23-CR-00085-ODW, which charge defendant with unauthorized

2    access to a protected computer to obtain information, in violation of

3    18 U.S.C. § 1030(a)(2)(C), (c)(2)(B)(i), (c)(2)(B)(ii) (count one),

4    wire fraud, in violation of 18 U.S.C. § 1343 (count two), and

5    accessing a computer to defraud and obtain value, in violation of

6    18 U.S.C. § 1030(a)(4), (c)(3)(A) (count four).

7               b.    Not contest facts agreed to in this agreement.

8               c.    Abide by all agreements regarding sentencing contained

9    in this agreement.

10              d.    Appear for all court appearances, surrender as ordered

11   for service of sentence, obey all conditions of any bond, and obey

12   any other ongoing court order in this matter.

13              e.    Not commit any crime; however, offenses that would be

14   excluded for sentencing purposes under United States Sentencing

15   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

16   within the scope of this agreement.

17              f.    Be truthful at all times with the United States

18   Probation and Pretrial Services Office and the Court.
19              g.    Pay the applicable special assessments at or before

20   the time of sentencing unless defendant has demonstrated a lack of

21   ability to pay such assessments.

22              h.    Defendant agrees that any and all criminal debt

23   ordered by the Court will be due in full and immediately.           The

24   government is not precluded from pursuing, in excess of any payment

25   schedule set by the Court, any and all available remedies by which to

26   satisfy defendant’s payment of the full financial obligation,
27   including referral to the Treasury Offset Program.

28

                                           2
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 3 of 29 Page ID #:269



1               i.    Complete the Financial Disclosure Statement on a form

2    provided by the USAO and, within 30 days of defendant’s entry of a

3    guilty plea, deliver the signed and dated statement, along with all

4    of the documents requested therein, to the USAO by either email at

5    usacac.FinLit@usdoj.gov (preferred) or mail to the USAO Financial

6    Litigation Section at 300 North Los Angeles Street, Suite 7516, Los

7    Angeles, CA 90012.     Defendant agrees that defendant’s ability to pay

8    criminal debt shall be assessed based on the completed Financial

9    Disclosure Statement and all required supporting documents, as well

10   as other relevant information relating to ability to pay.

11              j.    Authorize the USAO to obtain a credit report upon

12   returning a signed copy of this plea agreement.

13              k.    Consent to the USAO inspecting and copying all of

14   defendant’s financial documents and financial information held by the

15   United States Probation and Pretrial Services Office.

16              l.    Defendant further agrees:

17                    i.    To forfeit all right, title, and interest in and

18   to any and all monies, properties, and/or assets of any kind, derived
19   from or acquired as a result of, or used to facilitate the commission

20   of, or involved in the illegal activity to which defendant is

21   pleading guilty, specifically including, but not limited to, the

22   following items (collectively, the “Forfeitable Assets”):

23                          (I)   All digital devices seized from defendant

24   and his residence during the execution of a search warrant on

25   February 2, 2023 (collectively, the “Seized Devices”), including but

26   not limited to, the following devices:
27                                (A)   MacBook Pro (Silver), bearing serial

28   number C02TP0XYHTD8;

                                           3
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 4 of 29 Page ID #:270



1                                 (B)   ASUS Laptop, bearing serial number

2    M1N0CV082657022, and charger;

3                                 (C)   MacBook Pro, bearing serial number

4    C02CT2FXMD6Q, and charger;

5                                 (D)   Apple iPhone, bearing IMEI

6    356740911560093;

7                                 (E)   Apple iPhone, bearing IMEI

8    356169096341535;

9                                 (F)   Apple iPhone, bearing IMEI

10   356765081822551;

11                                (G)   Apple iPhone, bearing IMEI

12   356478104319122; and

13                                (H)   Apple iPhone, bearing IMEI

14   356841113720954.

15                          (II) All cryptocurrency found on the Seized

16   Devices, including, but not limited to, any cryptocurrency found in

17   any wallets stored on the Seized Devices, or controlled by private

18   keys found on the Seized Devices; and
19                          (III)       All other digital property found on the

20   Seized Devices.

21                    ii.   Not to contest in any way the government’s

22   destruction, disposal, or transfer of the Forfeitable Assets, which

23   the government may elect to do in its sole discretion at any time

24   after the entry of an order of forfeiture.

25                    iii. To the Court’s entry of an order of forfeiture at

26   or before sentencing with respect to the Forfeitable Assets and to
27   the forfeiture of the assets.

28

                                           4
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 5 of 29 Page ID #:271



1                     iv.     To take whatever steps are necessary to pass to

2    the United States clear title to the Forfeitable Assets, including,

3    without limitation, the execution of a consent decree of forfeiture

4    and the completing of any other legal documents required for the

5    transfer of title to the United States.

6                     v.      Not to contest any administrative forfeiture

7    proceedings or civil judicial proceedings commenced against the

8    Forfeitable Assets.      If defendant submitted a claim and/or petition

9    for remission for all or part of the Forfeitable Assets on behalf of

10   himself or any other individual or entity, defendant shall and hereby

11   does withdraw any such claims or petitions, and further agrees to

12   waive any right he may have to seek remission or mitigation of the

13   forfeiture of the Forfeitable Assets.

14                    vi.     Not to assist any other individual in any effort

15   falsely to contest the forfeiture of the Forfeitable Assets.

16                    vii. Not to claim that reasonable cause to seize the

17   Forfeitable Assets was lacking.

18                    viii.       To prevent the transfer, sale, destruction,
19   or loss of any and all assets described above to the extent defendant

20   has the ability to do so.

21                    ix.     To fill out and deliver to the USAO a completed

22   financial statement listing defendant’s assets on a form provided by

23   the USAO.

24                    x.      That forfeiture of Forfeitable Assets shall not

25   be counted toward satisfaction of any special assessment, fine,

26   restitution, costs, or other penalty the Court may impose.
27               m.   Agree to and not oppose the imposition of the

28   following conditions of probation or supervised release:

                                           5
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 6 of 29 Page ID #:272



1                     i.    Defendant shall submit defendant’s person and any

2    property under defendant’s control, including any residence, vehicle,

3    papers, computers, cell phones, other electronic communications or

4    data storage devices or media, email accounts, social media accounts,

5    cloud storage accounts, or other areas under the defendant’s control,

6    and effects, to suspicion-less search and seizure at any time of the

7    day or night by any law enforcement or probation officer, with or

8    without a warrant, and with or without cause; and if stopped or

9    questioned by a law enforcement officer for any reason, defendant

10   shall notify that officer that defendant is on federal supervised

11   release and subject to search.       Failure to submit to a search may be

12   grounds for revocation.      Defendant shall warn any other occupants

13   that the premises may be subject to searches pursuant to this

14   condition.

15                    ii.   Defendant shall be limited to one virtual

16   currency wallet, and that one wallet shall be used for all virtual

17   currency transactions.      Defendant shall not obtain or open any

18   virtual currency wallets/accounts without prior approval of the
19   Probation Officer.     All virtual currency transactions, along with any

20   virtual currency wallet Extended Public Keys (XPUB), shall be

21   disclosed to the Probation Officer upon request.          Defendant shall be

22   limited to only using and possessing open public blockchain virtual

23   currencies and restricted from using privacy-based blockchain virtual

24   currencies, unless prior approval is obtained from the Probation

25   Officer.

26                    iii. Defendant shall possess and use only those
27   digital devices, screen usernames, email accounts, social media

28   accounts, messaging applications, and cloud storage accounts, as well

                                           6
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 7 of 29 Page ID #:273



1    as any passwords or passcodes for all such digital devices and

2    accounts, which have been disclosed to the Probation Officer upon

3    commencement of supervision.       Any new devices, accounts,

4    applications, passwords, or passcodes are to be disclosed to the

5    Probation Officer prior to the first use.         A digital device is any

6    electronic system or device that can access, view, obtain, store, or

7    transmit digital data related to email accounts, financial accounts,

8    and social media accounts.

9                     iv.   All computers, computer-related devices, and

10   their peripheral equipment, used by defendant shall be subject to

11   search, seizure and computer monitoring.         This shall not apply to

12   items used at the employment site that are maintained and monitored

13   by the employer.

14                    v.    Defendant shall comply with the rules and

15   regulations of the Computer Monitoring Program.          Defendant shall pay

16   the cost of the Computer Monitoring Program.

17                    vi.   Defendant shall comply with the Internal Revenue

18   Service’s reporting requirements as they pertain to virtual
19   currencies and shall provide proof of having done so to the Probation

20   Officer.

21                    vii. Defendant shall not engage in the purchase, sale,

22   or transfer of social media accounts, non-fungible tokens, or any

23   other digital property without the express approval of the Probation

24   Officer, nor shall defendant engage in any business, either as whole

25   or partial owner, employee, or otherwise, involving the purchase,

26   sale, or transfer of social media accounts, non-fungible tokens, or
27   any other digital property without the express approval of the

28   Probation Officer.     Further, defendant shall provide the Probation

                                           7
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 8 of 29 Page ID #:274



1    Officer with access to any and all records, lists, and any other

2    documentation pertaining to the purchase, sale, or transfer of social

3    media accounts, non-fungible tokens, or any other digital property,

4    or any related business, as directed by the Probation Officer.

5                     viii.       Defendant is not to partake in gambling or

6    enter any gambling establishment where gambling is conducted, or

7    have access to gambling websites or applications.

8                     ix.     Defendant is prohibited from using any programs

9    or applications that provide for end-to-end encrypted communication.

10                               THE USAO’S OBLIGATIONS

11         3.   The USAO agrees to:

12              a.    Not contest facts agreed to in this agreement.

13              b.    Abide by all agreements regarding sentencing contained

14   in this agreement.

15              c.    At the time of sentencing, move to dismiss the

16   remaining counts of the indictment against defendant.           Defendant

17   agrees, however, that at the time of sentencing the Court may

18   consider any dismissed charges in determining the applicable
19   Sentencing Guidelines range, the propriety and extent of any

20   departure from that range, and the sentence to be imposed.

21              d.    At the time of sentencing, provided that defendant

22   demonstrates an acceptance of responsibility for the offenses up to

23   and including the time of sentencing, recommend a two-level reduction

24   in the applicable Sentencing Guidelines offense level, pursuant to

25   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an

26   additional one-level reduction if available under that section.
27              e.    At the time of sentencing, if before the November 1,

28   2023 effective date for the proposed amendments to the Sentencing

                                           8
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 9 of 29 Page ID #:275



1    Guidelines, recommend that defendant receive a two-level reduction in

2    the applicable Sentencing Guidelines offense level, under the

3    Adjustment for Certain Zero-Point Offenders, pursuant to U.S.S.G.

4    § 4C1.1 of the proposed amendments to the Sentencing Guidelines,

5    provided that defendant qualifies for the reduction under U.S.S.G.

6    § 4C1.1, and there has been no legislative or administrative action

7    withdrawing or delaying the November 1, 2023 effective date for

8    U.S.S.G. § 4C1.1.

9               f.     Except for criminal tax violations (including

10   conspiracy to commit such violations chargeable under 18 U.S.C.

11   § 371), not further criminally prosecute defendant for aggravated

12   identity theft, in violation of 18 U.S.C. § 1028A(a)(1), (b)(2), and

13   money laundering, in violation of 18 U.S.C. §§ 1956, 1957, arising

14   out of defendant’s conduct described in the agreed-to factual basis

15   set forth in paragraph 14 below.          Defendant understands that the USAO

16   is free to criminally prosecute defendant for any other unlawful past

17   conduct or any unlawful conduct that occurs after the date of this

18   agreement.      Defendant agrees that at the time of sentencing the Court
19   may consider the uncharged conduct in determining the applicable

20   Sentencing Guidelines range, the propriety and extent of any

21   departure from that range, and the sentence to be imposed after

22   consideration of the Sentencing Guidelines and all other relevant

23   factors under 18 U.S.C. § 3553(a).

24                              NATURE OF THE OFFENSES

25         4.   Defendant understands that for defendant to be guilty of

26   the crime charged in count one, that is, unauthorized access to a
27   protected computer to obtain information, in violation of Title 18,

28   United States Code, Section 1030(a)(2)(C), (c)(2)(B)(i),

                                           9
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 10 of 29 Page ID #:276



1    (c)(2)(B)(ii), the following must be true: (1) defendant accessed

2    without authorization a protected computer; (2) by accessing a

3    computer without authorization, defendant obtained information from a

4    computer that was used in or affecting interstate or foreign commerce

5    or communication; and (3) the offense was committed for purposes of

6    personal financial gain or in furtherance any criminal or tortious

7    act in violation of the Constitution or laws of the United States or

8    of any State, namely, wire fraud, in violation of 18 U.S.C. § 1343.

9          5.    Defendant understands that for defendant to be guilty of

10   the crime charged in count two, that is, wire fraud, in violation of

11   Title 18, United States Code, Section 1343, the following must be

12   true: (1) defendant knowingly participated in, devised, or intended

13   to devise a scheme or plan to defraud, or a scheme or plan for

14   obtaining money or property by means of false or fraudulent

15   pretenses, representations, or promises, or omitted facts; (2) the

16   statements made or facts omitted as part of the scheme were material;

17   that is, they had a natural tendency to influence, or were capable of

18   influencing, a person to part with money or property; (3) defendant
19   acted with the intent to defraud, that is, the intent to deceive and

20   cheat; and (4) defendant used, or caused to be used, an interstate

21   wire communication to carry out or attempt to carry out an essential

22   part of the scheme.

23         6.    Defendant understands that for defendant to be guilty of

24   the crime charged in count four, that is, accessing a computer to

25   defraud and obtain value, in violation of Title 18, United States

26   Code, Section 1030(a)(4), (c)(3)(A), the following must be true:
27   (1) defendant knowingly accessed without authorization a computer

28   used in or affecting interstate or foreign commerce or communication;

                                           10
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 11 of 29 Page ID #:277



1    (2) defendant did so with the intent to defraud; (3) by accessing the

2    computer without authorization, the defendant furthered the intended

3    fraud; and (4) defendant by accessing the computer without

4    authorization obtained anything of value.

5                              PENALTIES AND RESTITUTION

6          7.    Defendant understands that the statutory maximum sentence

7    that the Court can impose for unauthorized access to a protected

8    computer to obtain information, in violation of Title 18, United

9    States Code, Section 1030(a)(2)(C), (c)(2)(B)(i), (c)(2)(B)(ii), as

10   alleged in count one, is: 5 years’ imprisonment; a three-year period

11   of supervised release; a fine of $250,000 or twice the gross gain or

12   gross loss resulting from the offense, whichever is greatest; and a

13   mandatory special assessment of $100.

14         8.    Defendant understands that the statutory maximum sentence

15   that the Court can impose for wire fraud, in violation of Title 18,

16   United States Code, Section 1343, as alleged in count two, is:

17   20 years’ imprisonment; a three-year period of supervised release; a

18   fine of $250,000 or twice the gross gain or gross loss resulting from
19   the offense, whichever is greatest; and a mandatory special

20   assessment of $100.

21         9.    Defendant understands that the statutory maximum sentence

22   that the Court can impose for accessing a computer to defraud and

23   obtain value, in violation of Title 18, United States Code, Section

24   1030(a)(4), (c)(3)(A), as alleged in count four, is: 5 years’

25   imprisonment; a three-year period of supervised release; a fine of

26   $250,000 or twice the gross gain or gross loss resulting from the
27   offense, whichever is greatest; and a mandatory special assessment of

28   $100.

                                           11
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 12 of 29 Page ID #:278



1          10.   Defendant understands, therefore, that the total maximum

2    sentence for all offenses to which defendant is pleading guilty is:

3    30 years’ imprisonment; a three-year period of supervised release; a

4    fine of $750,000 or twice the gross gain or gross loss resulting from

5    the offenses, whichever is greatest; and a mandatory special

6    assessment of $300.

7          11.   Defendant understands that defendant will be required to

8    pay full restitution to the victims of the offenses to which

9    defendant is pleading guilty.       Defendant agrees that, in return for

10   the USAO’s compliance with its obligations under this agreement, the

11   Court may order restitution to persons other than the victims of the

12   offenses to which defendant is pleading guilty and in amounts greater

13   than those alleged in the counts to which defendant is pleading

14   guilty.     In particular, defendant agrees that the Court may order

15   restitution to any victim of any of the following for any losses

16   suffered by that victim as a result: (a) any relevant conduct, as

17   defined in U.S.S.G. § 1B1.3, in connection with the offenses to which

18   defendant is pleading guilty; and (b) any counts dismissed and
19   charges not prosecuted pursuant to this agreement as well as all

20   relevant conduct, as defined in U.S.S.G. § 1B1.3, in connection with

21   those counts and charges.       The parties currently believe that the

22   applicable amount of restitution is approximately $750,000, but

23   recognize and agree that this amount could change based on facts that

24   come to the attention of the parties prior to sentencing.

25         12.   Defendant understands that, by pleading guilty, defendant

26   may be giving up valuable government benefits and valuable civic
27   rights, such as the right to vote, the right to possess a firearm,

28   the right to hold office, and the right to serve on a jury.

                                           12
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 13 of 29 Page ID #:279



1    Defendant understands that he is pleading guilty to a felony and that

2    it is a federal crime for a convicted felon to possess a firearm or

3    ammunition.    Defendant understands that the convictions in this case

4    may also subject defendant to various other collateral consequences,

5    including but not limited to revocation of probation, parole, or

6    supervised release in another case and suspension or revocation of a

7    professional license.      Defendant understands that unanticipated

8    collateral consequences will not serve as grounds to withdraw

9    defendant’s guilty pleas.

10         13.   Defendant and his counsel have discussed the fact that, and

11   defendant understands that, if defendant is not a United States

12   citizen, the convictions in this case make it practically inevitable

13   and a virtual certainty that defendant will be removed or deported

14   from the United States.      Defendant may also be denied United States

15   citizenship and admission to the United States in the future.

16   Defendant understands that while there may be arguments that

17   defendant can raise in immigration proceedings to avoid or delay

18   removal, removal is presumptively mandatory and a virtual certainty
19   in this case.     Defendant further understands that removal and

20   immigration consequences are the subject of a separate proceeding and

21   that no one, including his attorney or the Court, can predict to an

22   absolute certainty the effect of his convictions on his immigration

23   status.     Defendant nevertheless affirms that he wants to plead guilty

24   regardless of any immigration consequences that his pleas may entail,

25   even if the consequence is automatic removal from the United States.

26                                    FACTUAL BASIS
27         14.   Defendant admits that defendant is, in fact, guilty of the

28   offenses to which defendant is agreeing to plead guilty.            Defendant

                                           13
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 14 of 29 Page ID #:280



1    and the USAO agree to the statement of facts provided below and agree

2    that this statement of facts is sufficient to support pleas of guilty

3    to the charges described in this agreement and to establish the

4    Sentencing Guidelines factors set forth in paragraph 16 below but is

5    not meant to be a complete recitation of all facts relevant to the

6    underlying criminal conduct or all facts known to either party that

7    relate to that conduct.      Defendant and the USAO agree the facts

8    provided below constitute relevant conduct for purposes of

9    calculating the Sentencing Guidelines under U.S.S.G. § 1B1.3.

10         Beginning on an unknown date, but no later than April 1, 2019,

11   and continuing through February 2, 2023, in Los Angeles County,

12   within the Central District of California, defendant Amir Hossein

13   Golshan, working alone and sometimes with other co-conspirators,

14   knowingly and with the intent to defraud, executed a scheme to

15   defraud victims through various online scams and unauthorized

16   intrusions into victims’ digital accounts.         Over the course of the

17   scheme, defendant employed a variety of fraudulent means to defraud

18   hundreds of victims, including Zelle merchant fraud, in which
19   defendant fraudulently offered fake and non-existent services on

20   social media, SIM swapping1 and social media account takeovers, in

21   which defendant would take over social media accounts to extort the

22   account owners and defraud additional victims, and, finally,

23   impersonating support personnel from Apple, Inc. (“Apple”) to take

24

25
           1“SIM swapping” refers to the process of fraudulently inducing
26   a mobile network carrier to reassign a cell phone number from the
     legitimate subscriber or user’s SIM card and cell phone to a SIM card
27   and cell phone controlled by a fraudster without the legitimate
     subscriber or user’s authorization. This allows the fraudster to
28   take control of the victim’s various accounts through two-step
     authentication text messages sent to a victim’s cell phone.
                                     14
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 15 of 29 Page ID #:281



1    over victims’ iCloud accounts to steal non-fungible tokens (“NFTs”),

2    cryptocurrency, and other digital property.          In so doing, defendant’s

3    entire scheme caused approximately $740,000 in losses to the hundreds

4    of victims of defendant’s fraud.

5    Zelle Merchant Fraud

6          Defendant’s Zelle merchant fraud involved fraudulently

7    advertising fake and non-existent Instagram services to individual

8    victims for several hundred dollars each.         For example, on August 25,

9    2019, defendant falsely represented on Instagram that he could

10   provide a verified Instagram badge for victim M.S.’s teenage

11   daughter’s Instagram account for $300.         Defendant knew this statement

12   was false, as only Instagram could provide a verified account badge.

13   Defendant nonetheless falsely represented in Instagram messages to

14   victim M.S. that he could provide this verification for the account,

15   which fraudulently induced victim M.S. to send an electronic payment

16   of $300 to defendant.      This electronic payment was deposited directly

17   into defendant’s bank account.

18   SIM Swapping & Social Media Account Takeovers
19         Defendant’s SIM swapping and social media account takeovers

20   targeted both the account owners and their online friends, duping

21   them into sending money to defendant.         For instance, on December 26,

22   2021, defendant fraudulently caused victim L.K.’s cell phone number

23   to be SIM swapped, that is, ported to a new cell phone that defendant

24   controlled.    After taking control of the victim’s cell phone number,

25   defendant reset the passwords to the victim’s social media accounts

26   which allowed defendant to take control of those accounts.            At the
27   time, victim L.K. was a social media influencer and model with over

28   100,000 followers on various social media accounts.           Defendant then

                                           15
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 16 of 29 Page ID #:282



1    logged into victim L.K.’s Instagram account without authorization,

2    impersonated her to her friends, and requested that victim L.K.’s

3    friends send him money through Zelle, PayPal, and other online

4    payment platforms.      Several of the victim’s online friends sent the

5    defendant money, totaling thousands of dollars, believing they were

6    sending money to the victim.       During the time that defendant locked

7    victim L.K. out of her accounts, defendant sent victim L.K. multiple

8    messages demanding $2,000 for the return of her accounts and

9    threatening to delete her accounts if she did not pay the defendant.

10   In so doing, defendant intentionally accessed without authorization a

11   protected computer belonging to Meta Platforms, Inc., to obtain

12   information for the purpose of private financial gain and in

13   furtherance of wire fraud.

14         On another occasion, on January 2, 2022, defendant fraudulently

15   caused victim A.F.’s cell phone number to be SIM swapped to a new

16   cell phone that defendant controlled.         After taking control of her

17   cell phone number, defendant similarly reset the passwords to the

18   victim’s social media accounts which allowed defendant to take
19   control of these accounts.       Defendant then logged into victim A.F.’s

20   Instagram account without authorization, impersonated her to her

21   friends, and requested that victim’s friends send him money.            As an

22   example, later that same day, defendant, while located in California,

23   sent an Instagram direct message from victim A.F.’s Instagram account

24   to victim J.T., who was then in New York.         Defendant pretended to be

25   victim A.F. and requested that victim J.T. send him an electronic

26   payment of $800 to his email address, which victim J.T. did.            This
27   $800 electronic payment was deposited directly into defendant’s bank

28   account.    Defendant also contacted victim A.F. while she was locked

                                           16
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 17 of 29 Page ID #:283



1    out of her accounts and demanded that she pay him $5,000 to restore

2    access to her accounts or else he would delete them.           By accessing

3    victim A.F.’s Instagram account and fraudulently inducing victim J.T.

4    to send him money, defendant intentionally accessed without

5    authorization a protected computer belonging to Meta Platforms, Inc.,

6    with the intent to defraud and obtained $800, in addition to using

7    interstate wires to carry out an essential part of defendant’s wire

8    fraud scheme.

9          Another time, on January 15, 2022, defendant fraudulently caused

10   victim E.W.’s cell phone number to be SIM swapped to a new cell phone

11   that defendant controlled.       Defendant then reset the passwords to

12   victim E.W.’s social media accounts which gave him control of victim

13   E.W.’s accounts.     Defendant then accessed victim E.W.’s social media

14   accounts, which had victim E.W.’s personal photos and videos saved on

15   them.   Defendant contacted victim E.W. and demanded that she pay him

16   $5,000 for the return of her accounts or else he would post her

17   videos online.

18         Between defendant’s Zelle merchant fraud and SIM swapping and
19   social media account takeovers, defendant fraudulently induced

20   approximately $82,000 in payments from approximately 500 victims,

21   usually in increments of $300 to $500 per victim.

22   Apple Support Fraud/NFT & Cryptocurrency Theft

23         Most recently, defendant impersonated Apple Support personnel to

24   gain unauthorized access to several victims’ Apple iCloud accounts to

25   steal NFTs, cryptocurrency, and other valuable digital property.

26   Through this conduct, defendant defrauded approximately five
27   different victims of amounts between $2,000 and $389,000 each.

28

                                           17
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 18 of 29 Page ID #:284



1          For example, on August 6, 2022, defendant called victim S.G.

2    from the phone number 1-800-MY-APPLE, and pretended to be Apple

3    Support.    Defendant told victim S.G. that defendant was with Apple

4    Support and wanted to give victim S.G. an advanced security protocol

5    to protect victim S.G.’s iCloud account.         Defendant then caused a

6    two-step authentication code to be sent to victim S.G.’s phone.

7    Through these misrepresentations, defendant fraudulently induced

8    victim S.G. to tell defendant this six-digit code, which allowed

9    defendant to gain access to victim S.G.’s iCloud account.            Defendant

10   then changed the email address associated with victim S.G.’s iCloud

11   account to an email address that he controlled and stole valuable

12   digital property from victim S.G., including an NFT valued at

13   approximately $319,000 and approximately $70,000 worth of

14   cryptocurrency.     Later that same day, defendant sold the stolen NFT

15   for $130,000 in cryptocurrency on a NFT marketplace.

16                                 SENTENCING FACTORS

17         15.   Defendant understands that in determining defendant’s

18   sentence the Court is required to calculate the applicable Sentencing
19   Guidelines range and to consider that range, possible departures

20   under the Sentencing Guidelines, and the other sentencing factors set

21   forth in 18 U.S.C. § 3553(a).       Defendant understands that the

22   Sentencing Guidelines are advisory only, that defendant cannot have

23   any expectation of receiving a sentence within the calculated

24   Sentencing Guidelines range, and that after considering the

25   Sentencing Guidelines and the other § 3553(a) factors, the Court will

26   be free to exercise its discretion to impose any sentence it finds
27   appropriate up to the maximum set by statute for the crimes of

28   conviction.

                                           18
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 19 of 29 Page ID #:285



1          16.   Defendant and the USAO agree to the following applicable

2    Sentencing Guidelines factors:

3      Base Offense Level:                      7     U.S.S.G. § 2B1.1(a)

4      Specific Offense
       Characteristics:
5
             - Loss more than $550,000          +14   U.S.S.G. § 2B1.1(b)(1)(H)
6
             - 10+ victims                      +2    U.S.S.G. § 2B1.1(b)(2)(A)
7
             - Sophisticated means              +2    U.S.S.G. § 2B1.1(b)(10)(C)
8
             - § 1030 involving                 +2    U.S.S.G. § 2B1.1(b)(18)(A)
9            personal information

10   Defendant and the USAO reserve the right to argue that additional

11   specific offense characteristics, adjustments, and departures under

12   the Sentencing Guidelines are appropriate.

13         17.   Defendant understands that there is no agreement as to

14   defendant’s criminal history or criminal history category.

15         18.   Defendant and the USAO reserve the right to argue for a

16   sentence outside the sentencing range established by the Sentencing

17   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

18   (a)(2), (a)(3), (a)(6), and (a)(7).
19                          WAIVER OF CONSTITUTIONAL RIGHTS

20         19.   Defendant understands that by pleading guilty, defendant

21   gives up the following rights:

22               a.    The right to persist in a plea of not guilty.

23               b.    The right to a speedy and public trial by jury.

24               c.    The right to be represented by counsel -– and if

25   necessary, have the Court appoint counsel -- at trial.           Defendant

26   understands, however, that, defendant retains the right to be
27   represented by counsel -– and if necessary, have the Court appoint

28   counsel –- at every other stage of the proceeding.

                                           19
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 20 of 29 Page ID #:286



1                d.    The right to be presumed innocent and to have the

2    burden of proof placed on the government to prove defendant guilty

3    beyond a reasonable doubt.

4                e.    The right to confront and cross-examine witnesses

5    against defendant.

6                f.    The right to testify and to present evidence in

7    opposition to the charges, including the right to compel the

8    attendance of witnesses to testify.

9                g.    The right not to be compelled to testify, and, if

10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12               h.    Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                         WAIVER OF RETURN OF DIGITAL DATA

16         20.   Understanding that the government has in its possession

17   digital devices and/or digital media seized from defendant during the

18   execution of a search warrant on February 2, 2023, defendant waives
19   any right to the return of the digital devices, the digital data

20   contained on those digital devices, and/or digital media, and agrees

21   that the government has the exclusive right to delete and destroy the

22   digital devices, the digital data contained on those digital devices,

23   and/or digital media.

24                          WAIVER OF APPEAL OF CONVICTION

25         21.   Defendant understands that, with the exception of an appeal

26   based on a claim that defendant’s guilty pleas were involuntary, by
27   pleading guilty defendant is waiving and giving up any right to

28   appeal defendant’s convictions on the offenses to which defendant is

                                           20
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 21 of 29 Page ID #:287



1    pleading guilty.     Defendant understands that this waiver includes,

2    but is not limited to, arguments that the statutes to which defendant

3    is pleading guilty are unconstitutional, and any and all claims that

4    the statement of facts provided herein is insufficient to support

5    defendant’s pleas of guilty.

6                WAIVER OF APPEAL OF SENTENCE AND COLLATERAL ATTACK

7          22.   Defendant agrees that, provided the Court imposes a term of

8    imprisonment within or below the range corresponding to an offense

9    level of 26 and the criminal history category calculated by the

10   Court, defendant gives up the right to appeal all of the following:

11   (a) the procedures and calculations used to determine and impose any

12   portion of the sentence; (b) the term of imprisonment imposed by the

13   Court; (c) the fine imposed by the Court, provided it is within the

14   statutory maximum; (d) to the extent permitted by law, the

15   constitutionality or legality of defendant’s sentence, provided it is

16   within the statutory maximum; (e) the amount and terms of any

17   restitution order, provided it requires payment of no more than

18   $750,000; (f) the term of probation or supervised release imposed by
19   the Court, provided it is within the statutory maximum; and (g) any

20   of the following conditions of probation or supervised release

21   imposed by the Court: the conditions set forth in Second Amended

22   General Order 20-04 of this Court; the drug testing conditions

23   mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); the alcohol and drug

24   use conditions authorized by 18 U.S.C. § 3563(b)(7); and any

25   conditions of probation or supervised release agreed to by defendant

26   in paragraph 2.
27         23.   Defendant also gives up any right to bring a post-

28   conviction collateral attack on the convictions or sentence,

                                           21
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 22 of 29 Page ID #:288



1    including any order of restitution, except a post-conviction

2    collateral attack based on a claim of ineffective assistance of

3    counsel, a claim of newly discovered evidence, or an explicitly

4    retroactive change in the applicable Sentencing Guidelines,

5    sentencing statutes, or statutes of conviction.          Defendant

6    understands that this waiver includes, but is not limited to,

7    arguments that the statutes to which defendant is pleading guilty are

8    unconstitutional, and any and all claims that the statement of facts

9    provided herein is insufficient to support defendant’s pleas of

10   guilty.

11         24.   The USAO agrees that, provided (a) all portions of the

12   sentence are at or below the statutory maximum specified above and

13   (b) the Court imposes a term of imprisonment within or above the

14   range corresponding to an offense level of 26 and the criminal

15   history category calculated by the Court, the USAO gives up its right

16   to appeal any portion of the sentence, with the exception that the

17   USAO reserves the right to appeal the amount of restitution ordered

18   if that amount is less than $750,000.
19                       RESULT OF WITHDRAWAL OF GUILTY PLEA

20         25.   Defendant agrees that if, after entering guilty pleas

21   pursuant to this agreement, defendant seeks to withdraw and succeeds

22   in withdrawing defendant’s guilty pleas on any basis other than a

23   claim and finding that entry into this plea agreement was

24   involuntary, then (a) the USAO will be relieved of all of its

25   obligations under this agreement; and (b) should the USAO choose to

26   pursue any charge or any civil, administrative, or regulatory action
27   that was either dismissed or not filed as a result of this agreement,

28   then (i) any applicable statute of limitations will be tolled between

                                           22
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 23 of 29 Page ID #:289



1    the date of defendant’s signing of this agreement and the filing

2    commencing any such action; and (ii) defendant waives and gives up

3    all defenses based on the statute of limitations, any claim of pre-

4    indictment delay, or any speedy trial claim with respect to any such

5    action, except to the extent that such defenses existed as of the

6    date of defendant’s signing this agreement.

7                     RESULT OF VACATUR, REVERSAL OR SET-ASIDE

8          26.   Defendant agrees that if any count of conviction is

9    vacated, reversed, or set aside, the USAO may: (a) ask the Court to

10   resentence defendant on any remaining counts of conviction, with both

11   the USAO and defendant being released from any stipulations regarding

12   sentencing contained in this agreement, (b) ask the Court to void the

13   entire plea agreement and vacate defendant’s guilty pleas on any

14   remaining counts of conviction, with both the USAO and defendant

15   being released from all their obligations under this agreement, or

16   (c) leave defendant’s remaining convictions, sentence, and plea

17   agreement intact.     Defendant agrees that the choice among these three

18   options rests in the exclusive discretion of the USAO.
19                            EFFECTIVE DATE OF AGREEMENT

20         27.   This agreement is effective upon signature and execution of

21   all required certifications by defendant, defendant’s counsel, and an

22   Assistant United States Attorney.

23                                 BREACH OF AGREEMENT

24         28.   Defendant agrees that if defendant, at any time after the

25   signature of this agreement and execution of all required

26   certifications by defendant, defendant’s counsel, and an Assistant
27   United States Attorney, knowingly violates or fails to perform any of

28   defendant’s obligations under this agreement (“a breach”), the USAO

                                           23
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 24 of 29 Page ID #:290



1    may declare this agreement breached.        All of defendant’s obligations

2    are material, a single breach of this agreement is sufficient for the

3    USAO to declare a breach, and defendant shall not be deemed to have

4    cured a breach without the express agreement of the USAO in writing.

5    If the USAO declares this agreement breached, and the Court finds

6    such a breach to have occurred, then: (a) if defendant has previously

7    entered guilty pleas pursuant to this agreement, defendant will not

8    be able to withdraw the guilty pleas, and (b) the USAO will be

9    relieved of all its obligations under this agreement.

10               a.    Following the Court’s finding of a knowing breach of

11   this agreement by defendant:

12                     i.    Defendant agrees that: (i) any statements made by

13   defendant, under oath, at the guilty plea hearing (if such a hearing

14   occurred prior to the breach); (ii) the agreed to factual basis

15   statement in this agreement; and (iii) any evidence derived from such

16   statements, shall be admissible against defendant in any such action

17   against defendant, and defendant waives and gives up any claim under

18   the United States Constitution, any statute, Rule 410 of the Federal
19   Rules of Evidence, Rule 11(f) of the Federal Rules of Criminal

20   Procedure, or any other federal rule, that the statements or any

21   evidence derived from the statements should be suppressed or are

22   inadmissible.

23               b.    Should the USAO choose to pursue any charge or any

24   civil, administrative, or regulatory action that was either dismissed

25   or not filed as a result of this agreement, then:

26                     i.    Defendant agrees that any applicable statute of
27   limitations is tolled between the date of defendant’s signing of this

28   agreement and the filing commencing any such action.

                                           24
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 25 of 29 Page ID #:291



1                      ii.   Defendant waives and gives up all defenses based

2    on the statute of limitations, any claim of pre-indictment delay, or

3    any speedy trial claim with respect to any such action, except to the

4    extent that such defenses existed as of the date of defendant’s

5    signing this agreement.

6             COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

7                                  OFFICE NOT PARTIES

8          29.   Defendant understands that the Court and the United States

9    Probation and Pretrial Services Office are not parties to this

10   agreement and need not accept any of the USAO’s sentencing

11   recommendations or the parties’ agreements to facts or sentencing

12   factors.

13         30.   Defendant understands that both defendant and the USAO are

14   free to: (a) supplement the facts by supplying relevant information

15   to the United States Probation and Pretrial Services Office and the

16   Court, (b) correct any and all factual misstatements relating to the

17   Court’s Sentencing Guidelines calculations and determination of

18   sentence, and (c) argue on appeal and collateral review that the
19   Court’s Sentencing Guidelines calculations and the sentence it

20   chooses to impose are not error, although each party agrees to

21   maintain its view that the calculations in paragraph 16 are

22   consistent with the facts of this case.         While this paragraph permits

23   both the USAO and defendant to submit full and complete factual

24   information to the United States Probation and Pretrial Services

25   Office and the Court, even if that factual information may be viewed

26   as inconsistent with the facts agreed to in this agreement, this
27   paragraph does not affect defendant’s and the USAO’s obligations not

28   to contest the facts agreed to in this agreement.

                                           25
     Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 26 of 29 Page ID #:292



1          31.   Defendant understands that even if the Court ignores any

2    sentencing recommendation, finds facts or reaches conclusions

3    different from those agreed to, and/or imposes any sentence up to the

4    maximum established by statute, defendant cannot, for that reason,

5    withdraw defendant’s guilty pleas, and defendant will remain bound to

6    fulfill all defendant’s obligations under this agreement.            Defendant

7    understands that no one –- not the prosecutor, defendant’s attorney,

8    or the Court –- can make a binding prediction or promise regarding

9    the sentence defendant will receive, except that it will be within

10   the statutory maximum.

11                              NO ADDITIONAL AGREEMENTS

12         32.   Defendant understands that, except as set forth herein,

13   there are no promises, understandings, or agreements between the USAO

14   and defendant or defendant’s attorney, and that no additional

15   promise, understanding, or agreement may be entered into unless in a

16   writing signed by all parties or on the record in court.

17   //

18   //
19   //

20

21

22

23

24

25

26
27

28

                                           26
Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 27 of 29 Page ID #:293




                                                       July 7, 2023
Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 28 of 29 Page ID #:294
Case 2:23-cr-00085-ODW Document 49 Filed 07/07/23 Page 29 of 29 Page ID #:295
